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 8
 9                        UNITED STATES DISTRICT COURT

10                       CENTRAL DISTRICT OF CALIFORNIA

11
12   SHONNA COUNTER,                         Case No.:
13
                 Plaintiff,                  COMPLAINT FOR:
14
        vs.                         DENIAL OF CIVIL RIGHTS AND
15                                  ACCESS TO PUBLIC FACILITIES
                                    TO PHYSICALLY DISABLED
16                                  PERSONS IN VIOLATION OF THE
     SOUTH COAST PLAZA; and DOES 1- AMERICANS WITH DISABILITIES
17   10,                            ACT OF 1990, (42 U.S.C. §12101, et
                                    seq.) AND THE UNRUH CIVIL
18                                  RIGHTS ACT, (CALIFORNIA CIVIL
              Defendants.           CODE §51, et seq.)
19
                                             DEMAND FOR JURY TRIAL
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                                      COMPLAINT - 1
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 1        “[T]he continuing existence of unfair and unnecessary discrimination and
          prejudice denies people with disabilities the opportunity to compete on an
 2
          equal basis and to pursue those opportunities for which our free society
 3        is justifiably famous.” 42 U.S.C. §12101(a)(8).
 4
          “It is the policy of this state to encourage and enable individuals with a
 5        disability to participate fully in the social and economic life of the state ...”
 6        California Government Code §19230(a).

 7
           Plaintiff SHONNA COUNTER (hereinafter referred to as “Plaintiff”)
 8
     complains of SOUTH COAST PLAZA, a California corporation; and DOES 1-10,
 9
     (each, individually a “Defendant” and collectively “Defendants”) and alleges as
10
     follows:
11
                                        I.      PARTIES
12
           1.     Plaintiff SHONNA COUNTER is a California resident and a qualified
13
     physically disabled person. Plaintiff has Spinal Muscular Atrophy, a rare,
14
     recessive, progressive, degenerative neuromuscular disorder. This condition
15
     weakens her muscle strength significantly, limiting or impairing her ability to
16
     walk. She uses a powered wheelchair for mobility and from her wheelchair she
17
     independently drives an adapted vehicle with a passenger side ramp. Plaintiff is a
18
     member of a protected class of individuals guaranteed rights under state and
19
     federal law. Ms. Counter prides herself on her independence and on empowering
20
     other disabled people to be independent.
21
           2.     Defendants SOUTH COAST PLAZA and DOES 1-10 are and were
22
     the owners, operators, lessors and/or lessees of the subject business, property, and
23
     facility at all times relevant in this Complaint.
24
           3.     Plaintiff does not know the true names of Defendants, their business
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     capacities, their ownership connection to the property and business, or their
26
     relative responsibilities in causing the access violations herein complained of, and
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     alleges a joint venture and common enterprise by all such Defendants. Plaintiff is
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                                             COMPLAINT - 2
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 1   informed and believes that each of the Defendants herein, including DOES 1
 2   through 10, inclusive, is responsible in some capacity for the events herein alleged,
 3   or is a necessary party for obtaining appropriate relief. Plaintiff will seek leave to
 4   amend when the true names, capacities, connections, and responsibilities of the
 5   Defendants and Does 1 through 10, inclusive, are ascertained.
 6          4.     Defendants own and owned the property located at 3333 Bear St.,
 7   Costa Mesa, CA 92626 (“Subject Property”) at all relevant times.
 8          5.     Defendants operate and operated a mall doing business as SOUTH
 9   COAST PLAZA (“mall”), located at the Subject Property, at all relevant times.
10          6.     Plaintiff alleges that the Defendants have been and are the owners,
11   franchisees, lessees, general partners, limited partners, agents, trustees, employees,
12   subsidiaries, partner companies and/or joint ventures of each of the other
13   Defendants, and performed all acts and omissions stated herein within the course
14   and scope of such relationships causing the damages complained of herein.
15                           II.    JURISDICTION AND VENUE
16          7.     This Court has subject matter jurisdiction over this action pursuant to
17   28 U.S.C. §1331 and §1343(a)(3) and (a)(4) for violations of the Americans with
18   Disabilities Act of 1990, U.S.C. §12101, et seq.
19          8.     Pursuant to supplemental jurisdiction, an attendant and related cause
20   of action, arising out of the same nucleus of operative facts and arising out of the
21   same transactions, is also brought under California’s Unruh Civil Rights Act,
22   which expressly incorporates the Americans with Disabilities Act.
23          9.     Venue is proper in this court pursuant to 28 U.S.C. U.S.C. §1391(b)
24   and is founded on the fact that the real property which is the subject of this action
25   is located in this district and that Plaintiff’s causes of action arose in this district.
26                                         III.   FACTS
27          10.    Plaintiff uses a wheelchair for mobility.
28

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 1         11.    Defendants’ business is open to the public, a place of public
 2   accommodation, and a business establishment.
 3         12.    Plaintiff went to the mall to go shopping at Sur La Table, Williams
 4   Sonoma and, Crate & Barrel on September 21, 2023. After shopping, Plaintiff
 5   went to use the public restroom behind Sur La Table & Lululemon.
 6         13.    Unfortunately, during Plaintiff’s visit, Defendants did not offer
 7   persons with disabilities equivalent facilities, privileges, advantages, and
 8   accommodations offered to other persons.
 9         14.    Plaintiff encountered barriers that interfered with and denied Plaintiff
10   the ability to use and enjoy the goods, services, privileges, advantages, and
11   accommodations offered by Defendants at the Subject Property.
12         15.    These barriers violate one or more standards of the Americans with
13   Disabilities Act (“2010 ADA”) and/or the California Building Codes (“2022
14   CBC”).
15         16.    Where restrooms are provided, each restroom must be accessible.
16   2010 ADA §213.2; 2022 CBC 11B-213.2. Among other requirements, a restroom
17   with toilet compartments must include at least one such compartment with
18   sufficient width and maneuvering space for a wheelchair user to transfer to and
19   from the toilet. 2010 ADA §604.3.1; 2010 ADA §604.8; 2022 CBC 11B-604.3.1;
20   2022 CBC 11B-604.8.
21         17.    The door pressure is 9 pounds, which made it extremely difficult for
22   Plaintiff to enter the restroom. 2010 ADA §404.2.9; 2022 CBC 11B-404.2.9.
23         18.    The standard stall door is not self-closing and blocks the accessible
24   stall upon entering or exiting. 2010 ADA §604.8.1.2; 2022 CBC 11B-604.8.1.2.
25         19.    The tissue paper length from the dispenser to the toilet is 11 inches.
26   2010 ADA §604.7; 2022 CBC 11B-604.7.
27
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                                          COMPLAINT - 4
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 1         20.    The soap dispenser height is 49 inches high resulting in Plaintiff
 2   struggling to reach the soap to wash her hands before leaving the restroom. 2010
 3   ADA §308.2.1, 2010 ADA §308.2.2; CBC 11B-308.2.1, CBC 11B-308.2.2.
 4         21.    After encountering these barriers, Plaintiff faced barriers which
 5   caused her extreme stress and anxiety.
 6         22.    There are 22 inches between the main door and the wall, which does
 7   not allow enough space for a wheelchair to exit. 2010 ADA §404.2.4.; 2022 CBC
 8   11B-404.2.4.
 9         23.    As Plaintiff attempted to exit the restroom, she found this
10   maneuvering space was much too narrow. This lack of adequate maneuvering
11   space forced her to back her wheelchair into the wall as she attempted to pull the
12   heavy door open. She was wedged into this space and could not get out. Plaintiff
13   began to panic as she was trapped between the door and the wall with no way to
14   extricate herself.
15         24.    At this point another customer was attempting to enter the restroom
16   and came upon the Plaintiff while she was attempting to free herself. The
17   maneuvering space did not allow Plaintiff to exit nor the new customer to be able
18   to enter the restroom. Eventually Plaintiff let go of the door and backed her way
19   out of the doorway as the other customer held the heavy door for her.
20         25.    The photos below show one or more of these violations.
21   //
22   //
23   //
24   //
25   //
26   //
27   //
28   //

                                         COMPLAINT - 5
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                                     COMPLAINT - 6
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                                     COMPLAINT - 7
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 1         26.    The barriers existed during Plaintiff’s visit to the Subject Property.
 2   Plaintiff personally encountered these barriers.
 3         27.    These inaccessible conditions and barriers denied Plaintiff full and
 4   equal access and caused her difficulty, discomfort, and embarrassment. Because of
 5   the lack of a compliant restroom Plaintiff suffered from the helpless feeling of
 6   being unable to leave the restroom, and extreme embarrassment for preventing
 7   someone else from entering and being indebted to a stranger for help.
 8         28.    These barriers denied Plaintiff full and equal access due to her
 9   disability because, inter alia, they caused Plaintiff anxiety, difficulty, discomfort,
10   and embarrassment which patrons who do not use a wheelchair for mobility do not
11   suffer when they access the Subject Property.
12         29.    Plaintiff enjoys shopping at the mall and intends to return to the
13   Subject Property in the near future. Plaintiff is currently deterred from returning
14   because of the knowledge of the barriers to equal access that relate to Plaintiff’s
15   disabilities which continue to exist at Defendants’ public accommodation facilities.
16         30.    Plaintiff alleges that Defendants knew that the barriers prevented
17   equal access. Plaintiff further alleges that Defendants had actual or constructive
18   knowledge that the architectural barriers prevented equal access, and that the
19   noncompliance with the Americans with Disabilities Act and Title 24 of the
20   California Building Code regarding accessible features was intentional.
21         31.    Defendants have obstructed or failed to maintain, in working and
22   useable conditions, those features necessary to provide ready access to persons
23   with disabilities. “A public accommodation shall maintain in operable working
24   condition those features of facilities and equipment that are required to be readily
25   accessible to and usable by persons with disabilities.” 28 C.F.R. §36.211(a); 2022
26   CBC 11B-108.
27         32.    The State of California Department of General Servicers, Division of
28   the State Architect (DSA) provides commentary to 2022 CBC 11B-108 as follows:

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 1             Features for accessibility must be permanently functional, unobstructed
               and may not be removed. It is not sufficient to provide features such as
 2
               accessible routes, parking, elevators, ramps or signage if those features
 3             are not maintained in a manner that enables individuals with disabilities
 4             to use them.

 5   DSA, 2019 California Access Compliance Advisory Reference Manual, p.84.
 6             33.   Defendants have the financial resources to remove these barriers
 7   without much expense or difficulty in order to make their property more accessible
 8   to their mobility impaired customers. The United States Department of Justice has
 9   identified that these types of barriers are readily achievable to remove.
10             34.   To date, Defendants refuse to remove these barriers, in violation of
11   the law, willfully depriving disabled persons including Plaintiff of important civil
12   rights.
13             35.   On information and belief, Plaintiff alleges that the Defendants’
14   failure to remove these barriers was intentional because the barriers are logical and
15   obvious. During all relevant times Defendants had authority, control, and dominion
16   over these conditions and therefore the absence of accessible facilities was not a
17   mishap, but rather an intentional act.
18             36.   The barriers to access are listed above without prejudice to Plaintiff
19   citing additional barriers to equal access by an amended complaint after inspection
20   by Plaintiff’s Certified Access Specialist (CASp). Oliver v. Ralphs Grocery Co.,
21   654 F.3d 903 (9th Cir. 2011); Doran v. 7-Eleven, Inc., 524 F.3d 1034 (9th Cir.
22   2008); Chapman v. Pier One Imports (USA), Inc., 631 F.3d 939 (9th Cir. 2011).
23   All of these barriers to access render the premises inaccessible to physically
24   disabled persons who are mobility impaired, such as Plaintiff, are barriers Plaintiff
25   may encounter when he returns to the premises. All public accommodations must
26   be brought into compliance with all applicable federal and state accessibility
27   requirements.
28

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 1                               FIRST CAUSE OF ACTION
 2                 Violation of the Americans With Disabilities Act of 1990
 3                                 (42 U.S.C. §12101, et seq.)
 4                                  (Against All Defendants)
 5          37.    Plaintiff alleges and incorporates by reference, as if fully set forth
 6    again herein, each and every allegation contained in all prior paragraphs of this
 7    complaint.
 8          38.    More than thirty years ago, the 101st United States Congress found
 9    that although “physical or mental disabilities in no way diminish a person’s right to
10    fully participate in all aspects of society, yet many people with physical or mental
11    disabilities have been precluded from doing so because of discrimination…in such
12    critical areas as employment, housing, public accommodations, education,
13    transportation, communication, recreation, institutionalization, health services,
14    voting, and access to public services.” 42 U.S.C. §12101(a).
15          39.    In 1990 Congress also found that “the Nation’s proper goals regarding
16    individuals with disabilities are to assure equality of opportunity, full participation,
17    independent living, and economic self-sufficiency for such individuals,” but that
18    “the continuing existence of unfair and unnecessary discrimination and prejudice
19    denies people with disabilities the opportunity to compete on an equal basis and to
20    pursue those opportunities for which our free society is justifiably famous.” 42
21    U.S.C. §12101(a).
22          40.    In passing the Americans with Disabilities Act of 1990, which was
23    signed into law by President George H. W. Bush on July 26, 1990 (hereinafter the
24    “ADA”), Congress stated as its purpose:
25          “It is the purpose of this Act
26
            (1) to provide a clear and comprehensive national mandate for the
27          elimination of discrimination against individuals with disabilities;
28

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 1          (2) to provide clear, strong, consistent, enforceable standards
            addressing discrimination against individuals with disabilities;
 2
 3          (3) to ensure that the Federal Government plays a central role in
 4          enforcing the standards established in this Act on behalf of individuals
            with disabilities; and
 5
 6          (4) to invoke the sweep of congressional authority, including the power
            to enforce the fourteenth amendment and to regulate commerce, in
 7          order to address the major areas of discrimination faced day to-day by
 8          people with disabilities.”

 9    42 USC §12101(b).
10
            41.    As part of the ADA, Congress passed “Title III – Public
11
      Accommodations and Services Operated by Private Entities” (42 U.S.C. §12181 et
12
      seq.). Title III of the ADA prohibits discrimination against any person “on the
13
      basis of disability in the full and equal enjoyment of the goods, services, facilities,
14
      privileges, advantages, or accommodations of any place of public accommodation
15
      by any person who owns, leases (or leases to), or operates a place of public
16
      accommodation.” 42 U.S.C. §12182(a).
17
            42.    The specific prohibitions against discrimination include, inter alia, the
18
      following:
19
         • 42 U.S.C. §12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It
20         shall be discriminatory to afford an individual or class of individuals,
21         on the basis of a disability or disabilities of such individual or class,
           directly, or through contractual, licensing, or other arrangements, with
22         the opportunity to participate in or benefit from a good, service, facility,
23         privilege, advantage, or accommodation that is not equal to that
           afforded to other individuals.”
24
25       • 42 U.S.C. §12182(b)(2)(A)(ii): “a failure to make reasonable
           modifications in policies, practices, or procedures when such
26
           modifications are necessary to afford such goods, services, facilities,
27         privileges, advantages, or accommodations to individuals with
           disabilities...;”
28

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 1
 2       • 42 U.S.C. §12182(b)(2)(A)(iii): “a failure to take such steps as may be
           necessary to ensure that no individual with a disability is excluded,
 3         denied service, segregated, or otherwise treated differently than other
 4         individuals because of the absence of auxiliary aids and services...;”

 5       • 42 U.S.C. §12182(b)(2)(A)(iv): “a failure to remove architectural
 6         barriers, and communication barriers that are structural in nature, in
           existing facilities... where such removal is readily achievable;”
 7
 8       • 42 U.S.C. §12182(b)(2)(A)(v): “where an entity can demonstrate that
           the removal of a barrier under clause (iv) is not readily achievable, a
 9         failure to make such goods, services, facilities, privileges, advantages,
10         or accommodations available through alternative methods if such
           methods are readily achievable.”
11
12          43.    Plaintiff is a qualified individual with a disability as defined in the
13    Rehabilitation Act and in the Americans with Disabilities Act of 1990.
14          44.    The acts and omissions of Defendants set forth herein were in
15    violation of Plaintiff’s rights under the ADA and the regulations promulgated
16    thereunder, 28 C.F.R. Part 36 et seq.
17          45.    The removal of each of the physical and policy barriers complained of
18    by Plaintiff as hereinabove alleged, were at all times herein mentioned “readily
19    achievable” under the standards of §12181 and §12182 of the ADA. Removal of
20    each and every one of the architectural and/or policy barriers complained of herein
21    was already required under California law. Further, on information and belief,
22    alterations, structural repairs or additions since January 26, 1993, have also
23    independently triggered requirements for removal of barriers to access for disabled
24    persons per §12183 of the ADA. In the event that removal of any barrier is found
25    to be “not readily achievable,” Defendants still violated the ADA, per
26    §12182(b)(2)(A)(v) by failing to provide all goods, services, privileges, advantages
27    and accommodations through alternative methods that were “readily achievable.”
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 1           46.    On information and belief, as of the date of Plaintiff’s encounter at the
 2    premises and as of the filing of this Complaint, Defendants’ actions, policies, and
 3    physical premises have denied and continue to deny full and equal access to
 4    Plaintiff and to other mobility disabled persons in other respects, which violate
 5    Plaintiff’s right to full and equal access and which discriminate against Plaintiff on
 6    the basis of her disabilities, thus wrongfully denying to Plaintiff the full and equal
 7    enjoyment of the goods, services, facilities, privileges, advantages and
 8    accommodations, in violation of 42 U.S.C. §12182 and §12183 of the ADA.
 9           47.    Defendants’ actions continue to deny Plaintiff’s rights to full and
10    equal access and discriminated and continue to discriminate against her on the
11    basis of her disabilities, thus wrongfully denying to Plaintiff the full and equal
12    enjoyment of Defendants’ goods, services, facilities, privileges, advantages and
13    accommodations, in violation of the ADA, 42 U.S.C. §12182.
14           48.    Further, each and every violation of the Americans With Disabilities
15    Act of 1990 also constitutes a separate and distinct violation of California Civil
16    Code §51(f), §52, §54(c) and §54.1(d), thus independently justifying an award of
17    damages and injunctive relief pursuant to California law, including but not limited
18    to Civil Code §54.3 and §55.
19                              SECOND CAUSE OF ACTION
20                           Violation of the Unruh Civil Rights Act
21                             (California Civil Code §51, et seq.)
22                                   (Against All Defendants)
23           49.    Plaintiff alleges and incorporates by reference, as if fully set forth
24    again herein, each and every allegation contained in all prior paragraphs of this
25    complaint.
26           50.    California Civil Code §51 provides that physically disabled persons
27    are free and equal citizens of the state, regardless of their medical condition or
28    disability:

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 1          All persons within the jurisdiction of this state are free and equal, and
            no matter what their sex, race, color, religion, ancestry, national origin,
 2
            disability, or medical condition are entitled to full and equal
 3          accommodations, advantages, facilities, privileges, or services in all
 4          business establishments of every kind whatsoever.

 5    California Civil Code §51(b) (emphasis added).
 6          51.    California Civil Code §51.5 also states, in part: “No business,
 7    establishment of any kind whatsoever shall discriminate against…any person in
 8    this state on account” of their disability.
 9          52.    California Civil Code §51(f) specifically incorporates (by reference)
10    an individual’s rights under the ADA into the Unruh Act.
11          53.    California Civil Code §52 provides that the discrimination by
12    Defendants against Plaintiff on the basis of her disability constitutes a violation of
13    the general antidiscrimination provisions of §51 and §52.
14          54.    Each of Defendants’ discriminatory acts or omissions constitutes a
15    separate and distinct violation of California Civil Code §52, which provides that:
16          Whoever denies, aids or incites a denial, or makes any discrimination
17          or distinction contrary to section 51, 51.5, or 51.6 is liable for each and
            every offense for the actual damages, and any amount that may be
18          determined by a jury, or a court sitting without a jury, up to a maximum
19          of three times the amount of actual damage but in no case less than four
            thousand dollars ($4,000), and any attorney’s fees that may be
20          determined by the court in addition thereto, suffered by any person
21          denied the rights provided in Section 51, 51.5, or 51.6.

22          55.    Any violation of the Americans with Disabilities Act of 1990
23    constitutes a violation of California Civil Code §51(f), thus independently
24    justifying an award of damages and injunctive relief pursuant to California law,
25    including Civil Code §52. Per Civil Code §51(f), “A violation of the right of any
26    individual under the Americans with Disabilities Act of 1990 (Public Law 101-
27    336) shall also constitute a violation of this section.”
28

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 1          56.    The actions and omissions of Defendants as herein alleged constitute a
 2    denial of access to and use of the described public facilities by physically disabled
 3    persons within the meaning of California Civil Code §51 and §52.
 4          57.    The discriminatory denial of equal access to and use of the described
 5    public facilities caused Plaintiff difficulty, discomfort, and embarrassment.
 6          58.    As a proximate result of Defendants’ action and omissions,
 7    Defendants have discriminated against Plaintiff in violation of Civil Code §51 and
 8    §52, and are responsible for statutory, compensatory and actual damages to
 9    Plaintiff, according to proof.
10                                     PRAYER FOR RELIEF
11           Plaintiff has no adequate remedy at law to redress the wrongs suffered as set
12    forth in this Complaint. Plaintiff has suffered and will continue to suffer
13    irreparable injury as a result of the unlawful acts, omissions, policies, and
14    practices of the Defendants as alleged herein, unless Plaintiff is granted the relief
15    she requests. Plaintiff and Defendants have an actual controversy and opposing
16    legal positions as to Defendants’ violations of the laws of the United States and
17    the State of California.
18           The need for relief is critical because the civil rights at issue are paramount
19    under the laws of the United States of America and the State of California.
20           WHEREFORE, Plaintiff prays judgment against Defendants, and each of
21    them, as follows:
22                1.      Issue a preliminary and permanent injunction directing
23          Defendants as current owners, operators, lessors, and/or lessees of the
24          Subject Property and premises to modify the above described property,
25          premises, policies and related facilities to provide full and equal access
26          to all persons, including persons with physical disabilities; and issue a
27          preliminary and permanent injunction pursuant to ADA §12188(a) and
28          state law directing Defendants to provide facilities and services usable

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 1         by Plaintiff and similarly situated persons with disabilities, and which
 2         provide full and equal access, as required by law, and to maintain such
 3         accessible facilities once they are provided; to cease any discriminatory
 4         policies; and to train Defendants’ employees and agents how to
 5         recognize disabled persons and accommodate their rights and needs;
 6               2.     Retain jurisdiction over the Defendants until such time as
 7         the Court is satisfied that Defendants’ unlawful policies, practices, acts
 8         and omissions, and maintenance of physically inaccessible public
 9         facilities and policies as complained of herein no longer occur, and
10         cannot recur;
11               3.     Award to Plaintiff all appropriate damages, including but
12         not limited to actual and statutory damages according to proof;
13               4.     Award to Plaintiff all reasonable attorney fees, litigation
14         expenses, and costs of this proceeding pursuant to 42 U.S.C §12205 and
15         California Civil Code §52; and
16               5.     Grant such other and further relief as this Court may deem
17         just and proper.
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      DATED: February 28, 2025                      VALENTI LAW APC
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21                                            By: /s/ Matthew D. Valenti
22                                                Matthew D. Valenti
23                                                Attorney for Plaintiff
                                                  Shonna Counter
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 1                                    JURY DEMAND
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            Plaintiff hereby demands a trial by jury for all claims and issues for which a
 3
      jury is permitted.
 4
 5
 6
 7    DATED: February 28, 2025                      VALENTI LAW APC

 8
                                              By: /s/ Matthew D. Valenti
 9
                                                  Matthew D. Valenti
10                                                Attorney for Plaintiff
11                                                Shonna Counter

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